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                                                   May11,2018

       VIA U.S. MAIL & E-MAIL: attorneyircland@gmail.com
       John C. Ireland
       The Law Office of John C. Ireland
       636 Spruce Street
       South Elgin IL 601 77

             RE:     Ja:roch v. Florida Fruit Juices, Inc., et.al.
                     Case No. 17-CV-8518

      Dear Mr. Ireland:

      Please accept this letter as Defendants' response to Plaintiffs Request to Inspect the premises of
      Defendant, Florida Fruit Juices, Inc ("FFJ"). For the reasons that follow, Defendants object to any
      on-site inspection of the FFJ premises.

      As you know, FFJ is in the business of producing juice drinks and related products at its facility.
      Accordingly, FFJ's business necessarily employs proprietary processes that FFJ protects from
      public view. Furthermore, the fact that FFJ is creating products intended for human consumption
      requires compliance with rigorous safety and health procedures that could potentially be
      compromised ifFFJ were required to permit inspection ofthe premises during working hours by
      non-employees. As a general matter, then, FFJ objects to your Request to Inspect on the basis of
      safety as well as protection of FFJ's products and proprietary processes and materials. Such an
      inspection would impose an undue burden on FFJ particularly where, as here, the information
      sought by Plaintiff is available via other, less burdensome means.

      For example, the first reason that your request to inspect lists for access to FFJ's premises is to
      conduct "[i]nspection and photographing" of Federal and/or state-mandated postings regarding
      employee rights. However, FFJ has already provided you with two full-color photos ofthe postings
      at FFJ's facility. (Copies of the photos, bearing Bates Numbers D00181-82, are attached to this
      letter for your reference). Plaintiff has not articulated any reason why these photos are insufficient
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   to satisfy Plaintiffs request regarding such postings. Further, as detailed in Defendants' responses
   to discovery, FFJ underwent a full FLSA audit by the U.S. Department of Labor in 2016, and there
   were no findings related to a lack of any required postings. Accordingly, Plaintiff has not set forth
   sufficient reasons as to why a physical inspection of the premises would be necessary to confirm
   what has already been disclosed via photographs and confirmed by the U.S. Department of Labor.

   Secondly, Plaintiffs request to view and photograph "all locations where Plaintiff worked" is
   overbroad and without relevance to the questions raised by this lawsuit. Plaintiffs lawsuit seeks
   compensation for alleged unpaid overtime. Plaintiff has not articulated why he would need access
   to "all locations" where he ever performed work during his 18 years of employment with FFJ in
   order for him to establish his claim under the FLSA and/or Illinois minimum wage laws. Plaintiff
   can certainly testify as to the locations where he performed work, but there is no basis stated as to
   why Plaintiff would require a physical inspection of the premises to support his wage claims. See,
   e.g., Vander Vennet v. Am. Intercontinental Univ. Online, 2007 U.S. Dist. LEXIS 92891, *10-11
   (N.D. Ill. 2007)(Hart, J.)(denying request for inspection of premises in overtime wages case,
   finding that "Plaintiffs' testimony about the arrangement of the office and their interaction with
   supervisors is sufficient.")

   With regard to Plaintiffs stated intention to "view and photograph Plaintiffs personal property,
   as listed in the complaint," Defendants note that they have denied that they are retaining any of
   Plaintiffs personal property against his will. As noted in Defendants' responses to discovery,
   Defendants provided Plaintiff with myriad opportunities to come to the FFJ facility and remove
   any of his belongings. Plaintiff did so over the course of two days following his termination of
   employment at FFJ. Following those two days, Plaintiff stated that the only item ofhis remaining
   on the FFJ premises was a 16-foot aluminum plank that he was unable to remove at that time.
   Defendants have retained that plank and will make it available for Plaintiff to remove at a mutually-
   acceptable time. However, with regard to the other items listed in Plaintiffs complaint, Plaintff
   has provided nothing beyond unsupported allegations to establish the existence of such items.
   Further, Plaintiff has provided no evidence that would establish his ownership of such items.
   Absent some showing on the part ofPlaintiffthat (a) the listed items actually exist, (b) the items
   were left by Plaintiff at the FFJ facility, and (c) that the Plaintiff purchased the items with his own
   money, Defendants cannot permit Plaintiff to engage in a fishing expedition on the FFJ premises
   regarding allegedly "converted" items.

   As to Plaintiffs request to view and photograph Plaintiffs "office," "computer," or "work
   station," please note that Plaintiff has not worked at FFJ's facility for over seven months. Plaintiff
   did not generally use a computer or smartphone during his employment with FFJ. (Note that he
   often routed e-mail conversations through the general FFJ e-mail or through Don Franko's e-mail,
   as demonstrated in the dozens of e-mails Defendants produced in discovery). Therefore, there is
   nothing for Plaintiff to inspect at the facility in this regard.
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   Finally, Defendants object to permitting Plaintiff's inspection based on Plaintiff's repeated pattern
   of trespassing and harassment at the FFJ facility since his termination, as related to you in my letter
   of March 6, 2018 (attached). Given Plaintiff's past behavior of entering onto FFJ's premises,
   disparaging FFJ to its current employees, and generally harassing FFJ's current employees
   regarding their continued employment at FFJ, Defendants cannot help but see this latest Request
   to Inspect as a continuation of Plaintiff's harassing and unwarranted conduct toward FFJ.
   Accordingly, for the reasons set forth herein, Defendants will not consent to an inspection ofFFJ's
   premises at this time.

   Thank you for your attention to this matter.

                                                          Sincerely,

                                                        ~~ M~~
                                                         tRyan   A. Mahone~
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                                                  March 6, 2018

       VIA U.S. MAIL & E-MAIL: attorneyireland@gmail.com
       John C. Ireland
       The Law Office of John C. Ireland
       636 Spruce Street
       South Elgin IL 60177

              RE:     Jaroch v. Florida Fruit Juices, Inc., et.al.
                      Case No. 17-CV-8518

       Dear Mr. Ireland:

       It has come to our attention that your client, Daniel Jaroch, has made repeated visits to the Florida
       Fruit Juices (“FFJ”) premises over the past several weeks and engaged in harassing or otherwise
       unwelcome behavior toward FFJ’s current employees. The FFJ employees approached by your
       client report that he has made a number of disparaging remarks regarding FFJ and our clients. Most
       recently, Mr. Jaroch came onto FFJ property this morning to tell a current employee not to accept
       a raise in salary because FFJ “would just fire him shortly after.” Mr. Jaroch was captured on FFJ’s
       security cameras trespassing on FFJ’s property.

       This behavior is unacceptable, particularly in light of the ongoing lawsuits your client has brought
       against our clients. We request that Mr. Jaroch immediately cease and desist all visits to FFJ’s
       property and all contact with FFJ’s current employees regarding their employment at FFJ. If Mr.
       Jaroch continues this unacceptable behavior, we will pursue appropriate remedies to protect our
       clients’ interests.

                                                              Sincerely,


                                                              Ryan A. Mahoney
